           Case 1:15-cr-00051-JLT-SKO Document 75 Filed 05/16/19 Page 1 of 2

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 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00051-LJO-SKO
11
                                   Plaintiff,           ORDER RE SEIZED FUNDS
12
                              v.
13
     RAUL OROPEZA LOPEZ, and
14   ANA MARIA OROPEZA,

15                                 Defendants.

16

17          On October 2, 2017, plaintiff United States of America and defendants Raul Oropeza and Ana

18 Maria Oropeza entered into plea agreements in which the defendants agreed to the disposition of the

19 assets seized in this case. Based upon these plea agreements, it is hereby ORDERED, ADJUDGED

20 AND DECREED as follows:

21          1.     The following assets seized in this case shall be turned over to the Clerk of the Court for

22 payment towards any restitution judgment entered against defendants RAUL OROPEZA LOPEZ and

23 ANA MARIA OROPEZA (hereinafter referred to as “Seized Funds”):

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      ORDER RE SEIZED FUNDS                             1
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            Case 1:15-cr-00051-JLT-SKO Document 75 Filed 05/16/19 Page 2 of 2

 1                  1.     Approximately $90,502.00 in U.S. Currency seized from Union Bank safe deposit

 2                         box number W9125, held in the names of Raul Oropeza and Ana Oropeza;

 3                  2.     Approximately $33,177.29 seized from Union Bank account number

 4                         4011668243, held in the name of Raul Oropeza;

 5                  3.     Approximately $30,000.00 seized from Bank of the Sierra account number

 6                         1710061570, held in the name of Raul Oropeza; and

 7                  4.     Approximately $13,513.00 in U.S. Currency.

 8          2.      Upon entry of this order, the custodial or seizing agency of the Seized Funds shall deliver

 9 the Seized Funds to the Clerk of the Court, 2500 Tulare Street, Suite 4401, Fresno, California 93721.

10 Any negotiable instruments shall be endorsed to the Clerk of the Court, and made payable thereto.

11          3.      Any remaining excess seized funds, over and above the restitution obligation, shall be

12 applied to any other fine or financial obligation as ordered by this Court in the instant criminal

13 prosecution.

14          4.      Thereafter, any remaining seized funds shall be deemed abandoned, returned to the

15 custodial or seizing agency, or by the direction of the U.S. Attorney’s Office, and retained by the United

16 States to be disposed of according to law.

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     IT IS SO ORDERED.
18

19      Dated:     May 16, 2019                              /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      ORDER RE SEIZED FUNDS                              2
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